Case 3:16-md-02738-MAS-RLS       Document 32195     Filed 05/17/24   Page 1 of 3 PageID:
                                      182622



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                      MDL No. 16-2738 (MAS) (RLS)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY                        THIS DOCUMENT RELATES
    LITIGATION                                    TO ALL CASES



       THE PLAINTIFFS’ STEERING COMMITTEE’S MOTION TO
     QUASH OR FOR PROTECTIVE ORDER REGARDING SUBPOENA
                    DIRECTED AT PAUL HESS


        PLEASE TAKE NOTICE that, at 9:00 a.m. on June 17, 2024, or at such

  other time as set by the Court, Plaintiffs, by and through the Plaintiffs’ Steering

  Committee (PSC), will Move to Quash or for Protective Order Regarding Subpoena

  Directed at Paul Hess.

        As fully discussed in Plaintiff’s Memorandum of Law in Support of this

  Motion, the Court should quash, or in the alternative issue a protective order,

  regarding Johnson & Johnson’s subpoena to Paul Hess because the discovery it seeks

  is irrelevant, disproportionate to the needs of this case, and unduly burdensome. It

  also improperly seeks discovery from a non-testifying expert, and risks revealing

  privileged and protected documents and communications.




                                           1
Case 3:16-md-02738-MAS-RLS       Document 32195        Filed 05/17/24   Page 2 of 3 PageID:
                                      182623



        Plaintiffs respectfully request that the Court grant the Motion to Quash or For

  Protective Order Regarding Subpoena Directed at Paul Hess. A proposed order is

  attached for the Court’s consideration.

  Dated: May 17, 2024                       Respectfully submitted,

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                                              2
Case 3:16-md-02738-MAS-RLS       Document 32195      Filed 05/17/24   Page 3 of 3 PageID:
                                      182624



                           CERTIFICATE OF SERVICE

        I hereby certify that on May 17, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the CM/ECF participants registered to receive services

  in this MDL.

                                                Respectfully submitted,


                                                /s/ P. Leigh O’Dell
                                                P. Leigh O’Dell




                                            3
